                      IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION


IN THE MATTER OF THE
APPLICATION TO OBTAIN
LOCATION DATA CONCERNING                         Magistrate Case No. f   '.1.o--n{) ~ 1'3°5 l -0:;J'
THE CELLULAR TELEPHONE
ASSIGNED CALL NUMBER (470) 462-                  Filed Under Seal
9908


                          AFFIDAVIT IN SUPPORT OF
                   AN APPLICATION FOR A SEARCH WARRANT

      I, Special Agent James D. Byers, being first duly sworn, hereby depose and state

as follows:

     INTRODUCTION

     1.       I submit this affidavit in support of an application for the renewal and

extension of a search warrant filed August 12, 2020 (7:20-mj-1191-RJ); renewed and

extended September 11, 2020 (7:20-mj-1232-RJ); renewed and extended October 8,

2020 (7:20-mj-1267-RJ); and renewed and extended November 13, 2020 (7:20-mj-

1297-RJ) under Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c) to

authorize law enforcement to employ an electronic investigative technique, described

in Attachment B, for information about the location of the cellular telephone assigned

call number (4 70) 462-9908 (the "TARGET CELL PHONE") used by DON

EUGENE NIXON, described in Attachment A, whose service provider is Verizon

Wireless ("the Provider"), a wireless telephone service provider that is headquartered

at 180 Washington Valley Road, Bedminster, NJ, 07921.



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     2.       As stated below, the information provided by this order will be helpful

m e tablisbing pattern       of travel and locations frequented by DON EUGENE

NIXON, JR. a/k/a Storm," a/k/a "Redd," (hereinafter, "NIXON').             However, the

information requested in this search warrant will also help to develop further details

concerning NIXON's drug trafficking activities and organization.

     3.       Based on information obtained through the course of this investigation,

I believe the current u er of this device is an individual named NIXON, who is

involved in the distribution of heroin and cocaine. Verizon Wireless is a p.r ovider of

wirele    communications service, Verizon Wireless is a provider of an electronic

communications service, as defined in 18 U.S.C. § 2510(15).

     4.       Based on the facts set forth in this affidavit, there is probable cause to

believe that violations of 21 U.S.C. §§ 841(a) and 846 (possession and distribution of

controlled substances and conspi1·acy to distribute and possess with t he intent to

distribute controlled substances), have been committed, ai·e being committed, and

will be committed by NIXON utilizing the TARGET CELL PHONE. There is also

probable cause to seai·ch the information de cribed in Attachment A for evidence,

instrumentalities, contl·aband, or fruits of these crimes as further described in

At tachment B.

     5.      The court has jurisdiction to issue the proposed warrant because it is a

"court of competent jurisdiction" as defined in 18 U .S.C. § 2711. Specifically, the Com·t

is a district court of the United States that has jm·isdiction over the offense being

investigated. See 18 U.S.C. § 2711(3)(A)(i).


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     6.       The TARGET CELL PHONE is described herein and in Attachment

A, and the location information to be seized is described herein and in Attachment B.

AGENT BACKGROUND

     7.       I have been employed by the FBI for over five years. I have served as a

Special Agent with the FBI for approximately one year and previously served as an

FBI Intelligence Analyst for approximately foux years. In these positions, I have been

responsible for investigating vai-ious violations of federal law, including but not

limited to violations of the Controlled Substances Act. I have experience and received

training in federal law enforcement investigations. I have participated in the

execution of numerous seai·ch and arrest wai·rants involving drug and firearms

offenses and gathered d1·ug,        fireai·ms   and   non-firearms   related evidence.

Additionally, I have participated in interviews of witnesses and conducted

surveillance of investigation targets. It is within my duties as a Special Agent to

investigate complex state and federal cli-ug trafficking conspii-acy cases using the

electronic interception of telephonic communications and the use of vehicular GPS

systems to supplement physical smveillance. I have directed and participated in

investigations of criminal violations of the Controlled Substances Act, including, but

not limited to, Title 21, United States Code, Sections 841, 843, 846, and Title 18,

United States Code, Sections 922, and 924; as well as the aiding and abetting the

above offenses, in violation of Title 18, United States Code, Section 2.

    8.       As a Special Agent, I have participated in numerous investigations of

drug trafficking offenses related to heroin, cocaine, fentanyl, and other illegal


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narcotics. I have conducted or participated in surveillance operations, controlled

purchases of illegal nai-cotic , the execution of search and an-est warrants,

debriefings of informants, analyzing pen registers, and monitoring court-authorized

wire intercepts.

     9.       Based upon your affiant's training, experience, and pa1·ticipation in

investigations of suspects involved with large amounts of heroin, cocaine, and/or

other controlled substances, your affiant knows:

     a.      Drug traffickers frequently use cellular telephones to conduct their drug

trafficking activities. Drug trafficker frequently use cellular telephones to make and

receive phone calls and send and receive messages via "Short Message Service"

("SMS") or "Multimedia Messaging Service" ("MMS"), which are often referred to

generically as "text messages", to communicate with their sources of supply of drugs

and drug customers in order to negotiate and facilitate the purchase and sale of drugs.

     b.      Drug trnffickers frequently change, drop , discontinue and/or further

compartmentalize cellular telephones in the event of law enforcement actions. Drug

traffickers commonly employ these tactics to insulate them elves and protect their

interest in the organization as well as the organization's interest.

    c.       Drug traffickers frequently use "stash houses", which are residences or

other buildings which are separate from their place of residence used to store drugs,

weapons, and/or the proceeds of their drug transactions. Often, "stash houses" al'e

purchased or rented under another individual's name in order to insulate the drug




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trafficker and make it more difficult for law enforcement to identify the location of

drugs, weapons, and the proceeds of drug ti-ansactions.


     10.     Through this experience, I am familia1· with drug traffickers' methods of

operation, including techniques commonly used to distribute, store, and transport

na1·cotics, as well as to collect and launder proceeds of their narcotics trafficking

activities. Through my experience with the FBI as a special agent and working with

other narcotics officers, I am also familiar with the coded language, or slang, narcotics

buyers and sellers use to communicate related to drug transactions.

     11.     The facts in this affidavit come from my personal observations, my

training and experience, my reviews of documents and prison telephone calls,

analysis of telephone toll information, information provided by sources of

information, and information obtained from other agents and witnesses. The affidavit

is intended to show merely that there is probable cause for the requested warrant

and does not set forth all of my knowledge about this matter.

     12.      Based on the fact    et forth in tbi affidavit, there is probable cause to

believe that violations of 21 U.S.C. §§ 841 and 846 (hereinafter referred to as

"TARGET OFFENSES") have been committed., are being committed, and will be

committed by "NIXON". There is also probable cause to believe that the location

information described in Attachment B will constitute evidence of these criminal

violations, and will lead to the identification of "NIXON" and other individuals who

are engaged in the commission of these offenses.




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     13.     Because collecting the information authorized by this warrant may fall

within the statutory definitions of a "pen register" or a "trap and trace device," see 18

U.S.C. § 3127(3) & (4), this waITant is designed to comply with the Pen Register

Statute as well as Rule 41 and 18 U.S.C. § 2703(c). See 18 U.S.C. §§ 3121-3127. This

warrant therefore include all the information required to be included in a pen

register order. See 18 U.S.C. § 3123(b)(l).

     PROBABLE CAUSE

     14.     In February 2020, the FBI began working to investigate a Drug

Trafficking Organization (DTO) operating in the Wilmington, North Carolina area.

During the com· e of the investigation, it was learned that NIXON was involved in

the disti·ibution of laTge quantities of heroin and cocaine in the Wilmington area.

Dlll'ing interviews with cooperating defendants and reliable confidential sources of

information, the FBI learned that NIXON and members of the DTO were involved in

the trafficking of heroin and cocaine dating back to at least 2017. NIXON is known

to distribute significant amounts of narcotics in the Wilmington, NC area. NIXON's

DTO supplies multiple narcotics dealer in the Wilmington, NC area as well as other

parts of North Carolina.

    15.      During the course of the investigation, agents have conducted numerous

interviews of people familiar with NIXON's DTO. Through these interviews, agents

have identified numerous persons that are supplied by NIXON and his DTO with

heroin and other naTcotics in the Wilmington, NC ru·ea.




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     16.        In March 2020, Cooperating Defendant 1 (hereinafter, "CD-1") informed

investigators     that   CD-1   had    accompanied   an   individual      who   purchased

approximately one ounce of raw heroin on approximately four separate occasions

from NIXON at a stash hou e u ed by NIXON to store illegal narcotics near Scotts

Hill, NC from 2018 until CD-l's an-est in 2019.

     17.     In May 2020, Confidential Human Source I (hereinafter, "CHS-1"),

informed   inve tigator     that      CHS-1   purchased   heroin   from    NIXON from

approximately September 2017 until approximately July 2019. CHS-1 contacted

NIXON via telephone calls and text messages to order heroin from NIXON at several

different telephone numbers during this time. CHS-I informed investigators of two

stash houses in the Wilmington, NC area used by NIXON to store illegal narcotics.

CHS-I also informed investigators that JERMAINE PIERRE THOMAS is a heroin

dealer who i      friends with NIXON. CHS-I further informed investigators that

TERRY WAYNE SHERMAN is a heroin dealer who knows both NIXON and

THOMAS.     CHS-1 has been proven in the past to provide truthful and reliable

information validated by law enforcement.

    18.     On or about July 2, 2020, CHS-1 informed investigators that NIXON's

new telephone number was the TARGET CELL PHONE.

    19.     On or about the afternoon of July 8, 2020, CHS-1 placed a telephone call

to the TARGET CELL PHONE and spoke with NIXON in the presence of

investigators. Investigators recognized the voice of the individual using the TARGET

CELL PHONE as NIXON based on the investigators' familiarity with NIXON's voice


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gained from listening to prior jail calls made to a phone used by NIXON which had

the same IMEI a the TARGET CELL PHONE.

     20.      On or about the evening of July 8, 2020, NIXON contacted CHS-1 using

the TARGET CELL PHONE and then met up with the CHS-1 in person. NIXON

told CHS-1 he had been staying out of town and believed law enforcement was

watching him because two individuals he supplied with heroin had been arrested

recently. NIXON told CHS-1 the e individuals were 'Wehe" (known to your affiant as

HERMAN BREWINGTON) and JEREMY GREENE. NIXON told CHS-1 that

NIXON would bring CHS-1 heroin before he left town again.

     21.      On or about June 22, 2020, the Wilmington Police Department (WPD)

executed search warrants on the residence and vehicle of HERMAN BREWINGTON

and located approximately $7,400 in U.S. cunency, approximately 14 grams of raw

heroin, and a small amount of marijuana. WPD then arrested BREWINGTON and

chai-ged him with several drug offenses, including trafficking heroin.

     22.     On or about June 26, 2020, the New Hanover County Sheriffs Office

(NHCSO) executed a search warrant at the residence of JEREMY RUSSELL

GREENE and seized approximately 80 grams of raw heroin, th1·ee guns,

methamphetamine, and ma1·ijuana. NHCSO arrested GREENE and chai·ged him

with multiple drug offenses, to include: two counts of trafficking heroin, possession of

a fu·earm by a felon, possession of heroin, possession of methamphetamine, and

possession of a stolen vehicle.

     23.     On the morning of July 19, 2020, SHERMAN met with CHS-1 and told


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CHS-1 that NIXON is SHERMAN's heroin supplier. SHERMAN also placed a

telephone call to NIXON in the pre ence of CHS-1. During the call, NIXON, using the

TARGET CELL PHONE, told SHERMAN he would bring drugs to SHERMAN's

apa1tment that morning.

     24.     Information received pursuant to the execution of a Federal search

warrant (7:20-mj-1166-RJ) on the TARGET CELL PHONE showed the TARGET

CELL PHONE was located in the al'ea of SHERMAN's apa1·tment approximately 30

minutes after the telephone call between SHERMAN and NIXON on July 19, 2020.

Based on my training and experience, information from a Federal search warrant,

and information from CHS-1, I am informed and believe NIXON and SHERMAN met

on July 19, 2020 to conduct a drug transaction.

     25.     Later on July 19, 2020, SHERMAN contacted CHS-1 and told CHS-1 to

come to SHERMAN's apartment in the Cape Cottage Condominium's in Wilmington,

NC. When CHS-1 arrived, SHERMAN got into CHS-l's vehicle and told CHS-1 that

NIXON wanted him (SHERMAN) to ' look out" for CHS-1 and make sure CHS-1 "was

straight". CHS-1 info1·med you1· affiant this was NIXON's way of telling SHERMAN

to give CHS-1 some of the di·ugs SHERMAN received from NIXON. SHERMAN then

had CHS-1 drive SHERMAN to several locations in Wilmington, NC and then back

to the parking lot of SHERMAN's apartment complex. When they returned to the

apartment complex, SHERMAN gave the CHS a plastic bag containing what the CHS

believed to be heroin as well as a new box of empty glassine bags.

    26.      Immediately after leaving SHERMAN's apa1·tment complex on July 19,


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2020, CHS-1 contacted your affiant. CHS-1 then immediately met yom· affiant and

provided the box of empty glassine bags and the plastic bag containing a powder

substance.

     27.     On or about July 20, 2020, yom· affiant and an FBI Task Force Officer

conducted a field test of the powder substance CHS-1 obtained from SHERMAN on

July 19. The field test produced a presumptive positive indication for the presence of

cocaine and fentanyl. The substance was then submitted to the DEA lab for testing.

     28.     Information received pursuant to the execution of a Federal search

warrant (7:20-mj-1166-RJ) on the TARGET CELL PHONE showed the TARGET

CELL PHONE was located in the ai·ea of the Stephens Pointe Apartment Complex,

located at 8651 Stephens Chm·ch Rd, Building D, Wilmington, North Carolina, at

approximately 10:45 A.M. on July 29, 2020. Physical sm-veillance conducted at the

Stephens Pointe Apartment Complex at the time TARGET CELL PHONE was

located in Building D identified a black 2-door Mercedes in the pai·king lot which has

previously been observed by your affiant at other stash locations believed to be used

by NIXON. Surveillance also identified THOMAS walking near Building D of the

apartment complex.

    29.      On or about July 30, 2020, a Deputy with the New Hanover County

Sheriffs Office observed NIXON exit building D and get into the driver's seat of an

Actll'a TL registered to THOMAS and leave the apartment complex. Later, on or

about July 30, 2020, the Deputy observed NIXON return driving THOMAS's vehicle.

NIXON exited the vehicle, punched in the security code at apartment D207, and


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entered the apartment.

     30.     On or about August 4, 2020, SHERMAN contacted CHS-1 and told CHS-

1 that SHERMAN expected to be re- upplied with heroin by NIXON sometime dui·ing

the evening of August 4, 2020.

     31.     Information received pursuant to the execution of a Federal search

warrant (7:20-mj-1166-RJ) on the TARGET CELL PHONE and a North Carolina

(NC) State Pen Register Trap and Trace (PRTT) on 919-508-7035 (used by

SHERMAN) showed both SHERMAN and NIXON's phones were located in

approximately the ame area of Wilmington, NC at approximately 10:07 P.M. on

August 4, 2020. Additionally, everal telephone calls occurred between NIXON and

SHERMAN on the evening of August 4, 2020. Based on my training and experience,

information from a Federal search warrant and NC State PRTI, and information

from CHS-1, I am informed and believe NIXON and SHERMAN met on the evening

of August 4, 2020 to conduct a drug transaction.

    32.     On or about August 5, 2020, SHERMAN informed CHS-I that NIXON

only provided SHERMAN with one ounce of heroin. SHERMAN said he would provide

some of that heroin to CHS-1.

    33.     On or about August 5, 2020, CHS-1 conducted a controlled pui·chase of

approximately 15.5 grams ofraw heroin from SHERMAN. SHERMAN provided CHS-

1 with a plastic bag containing a powder substance and a box of empty glassine bags.

SHERMAN told CHS-1 there were 16 grams of heroin in the bag and said CHS-1

owed SHERMAN $1,200 for the drugs.


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     34.      On or about August 5, 2020, your affiant and an FBI Task Force Officer

conducted a field test of the powder substance CHS-1 obtained from SHERMAN on

August 5, 2020. The field test produced a presumptive positive indication for the

presence of heroin. The ubstance was then submitted to the DEA lab for testing.

     35.      On August 20, 2020, at approximately 1:11 p.m., your affiant observed

NIXON walk out the front door of 141 N. Front Street1 and answer a cellular

telephone on his person. Your affiant reviewed a PRTT attached to the TARGET

CELL PHONE and observed an incoming call to the TARGET CELL PHONE from

910-409-4705 on August 20, 2020, at 1:11 p.m. Information received pursuant to the

execution of a Federal search warrant (7:20-mj-1191-RJ) on the TARGET CELL

PHONE showed the TARGET CELL PHONE was located in the vicinity of 141 N.

Front Street on August 20, 2020 at approximately 1:00 p.m.

      36.     On or about August 23, 2020, CHS-1 received a consensually recorded

telephone call from SHERMAN u ing 919-508-7035. During the call, SHERMAN told

CHS-1, "I'ma talk to Big Bro and see if he can go ahead and let you do your thing.

You know what I'm saying?" According to CHS-1, this meant SHERMAN was going

to ask NIXON to supply heroin directly to CHS-1 so that CHS-1 would not have to

u e SHERMAN as a middleman.

    37.       On or about the afternoon of August 31, 2020, your affiant observed




1 Dw-ing a prison call on April 7, 2020, NIXON told an unknown male he was opening a club in

downtown Wilmington named Dior's Lounge. Yow· affiant located an Instagram profile for "Dior'
Lounge" which states, "Dior's i a New Premier Bar lounge locate Downtown 141 N Front St.,
Wilmington NC ."
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NIXON, THOMAS, SHERMAN, JOHNNY JERMAINE JOHNSON 2, RODERICK

TYRONE SIMPSON3, and WILLIAM JAWARAH LAMB 4 meeting in person at 141

N. Front Street. Information received pursuant to the execution of a Federal seru·ch

warrant (7:20-mj-1191-RJ) on the TARGET CELL PHONE showed the TARGET

CELL PHONE was located in the vicinity of 141 N. Front Street during the

afternoon of August 31 , 2020.

        38.    On May 4, 2020, at about 9:59 a.m., NIXON received an incoming

telephone call on 347-266-2309 (same !MEI as the TARGET CELL PHONE) from a

male at Scotland Correctional Institution using the account of inmate Brandon

Prevette. During the call, the NIXON said, ''I'm holding it down on that, but I need

the low down on that girl though. If you can make that happen, we can shake ASAP."

The male said, ''Yeah, he already told me what the lick read. Like yo. That's, that's

coming from motherfucking uh, the Georgia Bulldog boy, you know what I'm saying?"

NIXON said, "Yeah, I understand that." The male said, 'He be like, they on they

motherfuck, you know, motherfucker can't go from stadium to stadium, you know

what I'm saying? After it get dark. After it get dal'k they be on some other shit by




 2 JOHNSO      s criminal history includes convictions for murder and 6xst-degree assault in
 connection with a 1996 mw·der which were subsequently overturned in 2013 due to prosecutorial
  misconduct. JOHNSO was released in 2013 when the State of Connecticut declined to retry
 JOHNSON and his fellow co-defendants. JOHNSON was also charged with firearm by felon and
 ADWWIKISI in Februru-y 2019, but the e charges were dismissed in July 2020 when the victim of
  the shooting refused to cooperate with the prosecution.
3 S[MPSON's ci·inlinal history includes convictions for PWISD cocaine (1990), PWISD cocaine (1994),

Felony possession of cocaine (1994), felony possession of cocaine (1997), PWISD cocaine base greater
than 50 grams (2000).
• LAMB's criminal history includes convictions for possession of cocaine (1991), PWISD cocaine
(1995), three counts of assault on government official (1995), PWISD cocaine (1995), possession of
firearm by felon (2001) , felony possession of marijuana (2010).
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going from uh stadium to stadium and shit. Looks like it's gonna take a little bit more

time than they thought."

       39.   Based on my training and experience and familiarity with the NIXON

DTO, I know the word "girl" is slang for cocaine, so I believe NIXON was asking the

inmate to get information from a cocaine supplier. I know "the lick read" is slang

which means "the situation". I believe the "Georgia Bulldog boy'' is code used to

inform NIXON the cocaine supplier is a male from Georgia. I believe the statement

about going from stadium to stadium is code used to discuss issues the cocaine

supplier was experiencing when transporting drugs from city to city.

      40.    On September 15, 2020, the TARGET CELL PHONE left Durham,

North Carolina at about 12:00 p.m. and arrived in Atlanta, Georgia at about 5:00 p.m.

The TARGET CELL PHONE remained in Atlanta until September 16, 2020, when

it departed Atlanta at about 4:00 p.m. and anived in Durham at about 8:00 p.m.

      41.    Based on my training and experience, knowledge of the NIXON's

previous conversation with an inmate from Scotland Correctional Institute about a

cocaine supplier from Georgia and the length of time spent in Atlanta, I believe it is

likely NIXON went to Atlanta to meet with a di·ug supplier. Additionally, I know

cocaine traffickers in the Wilmington area are often supplied by individuals based in

Atlanta.

      42.    On September 30, 2020 at about 11:32 a.m., CHS-1 sent a text message

to SHERMAN over 919-508-7035 which was captured by a consensual electronic




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intercept monitored by the FBI. The text me sage CHS-1 sent to SHERMAN read,

 Boy u treat me any kinda way ... fuck I do 2 u."

       43.    Your affiantreviewed a PRTT attached to the TARGET CELL PHONE

and observed an incoming call from 919-508-7035 (known to be used by SHERMAN)

placed on September 30, 2020 at about 11:32 a.m. which was unanswered.

       44.    On September 30, 2020 at about 11:32 a.m., SHERMAN placed a

telephone call to CHS-1 which lasted about two minutes and 26 seconds and was

consensually monitored. During the call, SHERMAN said, "What you get? What you

came with?" CHS-1 said, "I got like $2,000." SHERMAN said, "You about, you about

motherfucking 10 joints. 10 bricks of omegas. For real." CHS-1 said, "From where?

You got them, motherfucker?" SHERMAN said, "I can check. I think I got a dude. I

think I know somebody that's got some fire-fire though for real. Let me check with

him today, 'cause if you got two ($2,000) I'll check with him and I'll get it." CHS-1

said, "Ok." CHS-1 then said, "It's ah-eady packaged and stamped and all that shit?"

SHERMAN said, "Yep." CHS-1 said, "So when do you want me to call you back man?

I'm at work right now. You know I don't get off until four. I gotta go to T.A.S.C. tonight

at six and I get out at seven." SHERMAN said, "Alright. Call me soon as you leave

T.A.S.C. and I'll have an an wer for you."

      45.    Your affiant reviewed a PRTT attached to the TARGET CELL PHONE

and observed an incoming call from 919-508-7035 (known to be used by SHERMAN)

placed on September 30, 2020 at about 11:36 a.m. which was unanswered.




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       46.    Your affiant reviewed a PRTI' attached to the TARGET CELL PHONE

and observed an incoming call from 919-508-7035 (known to be used by SHERMAN)

placed on September 30, 2020 at about 12:26 p.m. which was unanswered.

       47 .   On September 30, 2020 at about 4:43 p.m., CHS-I placed a consensually

monito1·ed telephone call to SHERMAN at 919-508-7035 and said, "You didn't forget

about me , did you?" SHERMAN said, 'No. He still ain't called me back yet bro. I'm

trying to get on, get him, get with him now. I done called him about four times."

       48.    On September 30, 2020 at about 7:49 p.m., CHS-1 placed a consensually

monitored telephone call to SHERMAN at 919-508-7035 and said, "What's going on

with you?" SHERMAN said, "He ain't never called me back bro. I got another man

I'm gonna call. I shot him a text."

       49.    Based upon my training and experience and SHERMAN's previous

disclosuxe to CHS-I that he (SHERMAN) gets heroin from NIXON, I believe the calls

placed to the TARGET CELL PHONE by SHERMAN immediately after CHS-I

contacted SHERMAN to set up a drug transaction show SHERMAN was likely

contacting the TARGET CELL PHONE to obtain heroin for CHS-I. Further, I

believe SHERMAN was likely referring to NIXON when he said he was still waiting

on a male to call him back because SHERMAN's calls to NIXON on September 30,

2020 had not been answered or retm·ned by the user of the TARGET CELL PHONE

up to that point.

      50.     On October 14, 2020, the FBI received historical text messages sent to

and from the TARGET CELL PHONE pursuant to a search warrant served on


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Verizon Wireless for the period covering October 2, 2002 to October 6, 2020. Your

affiant reviewed the e records and observed drug-related conversations, for example:

      51.    On October 3, 2020, at about 8:16 p.m., an incoming text message from

910-742-8949 was received on the TARGET CELL PHONE which read, "Got alot of

complaints 2 much baken soda." On the same day at about 8: 17 p.m. an outgoing text

message was sent from the TARGET CELL PHONE which read, "II KNOW II

HEARD."

      52.    Based on my training and experience, I believe the message "Got alot of

complaints 2 much baken soda' indicates the user of 910-742-8949 is a drug dealer

who distributed crack cocaine they received from NIXON to multiple individuals who

were not satisfied with the quality of the drugs because they contained too much

baking soda. Further, I believe the response sent from the TARGET CELL PHONE

indicated NIXON likely distributed the crack cocaine to other individuals in addition

to the user of 910-742-8949 because his response indicated he was already made

aware of the poor quality of the crack cocaine.

      53.    On October 4, 2020, at about 4:48 p.m., an outgoing text message was

sent to 910-622-2327 from the TARGET CELL PHONE which read, "15,500." On

the same day, at about 4:53 p.m., an outgoing text message was sent to 910-622-2327

from the TARGET CELL PHONE which read,' AM LEAVING AROUND 7:00." On

the same day, at about 5:06 pm., an incoming text message from 910-622-2327 was

received on the TARGET CELL PHONE which read, "lzip." On the same day, at

about 5:06 p.m., an outgoing text message was sent to 910-622-2327 from the


                                          17



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TARGET CELL PHONE which read, "GOT U."

       54.   Based on my t1·aining and experience, I am aware 'zip" is a slang term

commonly used by di·ug dealers to refer to an ounce of a controlled substance;

therefore, I believe the user of 910-622-2327 was ordering one ounce of a controlled

substance from NIXON. Further, I believe the reply from the TARGET CELL

PHONE, 'GOT U', meant NIXON intended to supply the user of 910-622-2327 with

a controlled substance.

      55.    Information received pUl'suant to the execution of a Federal search

warrant (7:20-mj-1267-RJ) on the TARGET CELL PHONE and a North Carolina

(NC) State Pen Regi ter Trap and Trace (PRTT) on 919-508-7035 (used by

SHERMAN) showed both SHERMAN and NIXON's phones were located in the

vicinity of 1913 Carolina Beach Road, Wilmington at about 9:30 a.m. on October 25,

2020. Shortly thereafter, SHERMAN's cellular telephone travelled to Rocky Mount,

NC, where it arrived at about 12:30 p.m. While SHERMAN's cellular telephone was

in Rocky Mount, NC, your affiant observed SHERMAN's matte black colored

Mercedes Benz and two black colored Porsche cru·s registered to THOMAS in the

parking lot at 1913 Carolina Beach Road.

      56.    SHERMAN's cellular telephone remained in Rocky Mount until about

4:00 p.m., at which time it departed in the direction of Wilmington. SHERMAN's

cellular telephone returned to the vicinity of Wilmington at about 6:10 p.m. and first

went to the area of Bonham Avenue where SHERMAN is believed to store drugs.




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SHERMAN's cellular telephone then returned to the vicinity of 1913 Cal'Olina Beach

Road at about 6:26 p.m .

        57.   At about 6:28 p.m. on the same day, your affiant observed SHERMAN's

matte black colored Mercedes Benz depart the parking lot of 1913 Carolina Beach

Road.

        58.   A PRTT attached to the TARGET CELL PHONE recorded an incoming

call from 919-508-7035 (used by SHERMAN) placed on October 25, 2020 at about 6:29

p.m. which lasted about four seconds. A PRTT attached to the TARGET CELL

PHONE recorded an outgoing call to 919-508-7035 (used by SHERMAN) placed on

October 25, 2020 at about 6:39 p.m. which lasted about 66 seconds. A PRTT attached

to the TARGET CELL PHONE recorded an outgoing call to 919-508-7035 (used by

SHERMAN) placed on October 25, 2020 at about 6:42 p.m. which lasted about two

minutes and 10 seconds.

        59.   Based on my training and experience and familiarity with this

investigation, I believe it is likely SHERMAN left his Mercedes Benz at 1913 Carolina

Beach Road in order to use a vehicle belonging to another co-conspirator for the trip

to Rocky Mount. Based on my training and experience, this behavior is consistent

with that of an individual making a trip to acquire a quantity of drugs. I believe

NIXONs presence at 1913 Carolina Beach Road prior to SHERMAN departing on the

trip and SHERMANs telephone calls with the TARGET CELL PHONE

immediately following SHERMANs return to 1913 Cal'Olina Beach Road indicates

that SHERMANs trip may have been on behalf of NIXON.


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         60.     On November 3, 2020, at about 3:00 p.m., yom· affiant and FBI Task

Force Officer (TFO) Jonathan Davis observed NIXON speaking with the driver of a

Nissan Maxima registered to CRANSTON LAMONT ANDREWS 5 , Jr. NIXON then

entered the driver's seat of a black colored Mercedes Benz coupe 1·egistered to

Monique Simon-McNail: of Garner, NC and departed 1913 Carnlina Beach Road.

         61.     According to location data obtained via Federal seal'ch warrant (7:20-

mj-1267-RJ), the TARGET CELL PHONE was in the vicinity of 1913 Carolina

Beach Road at the time we observed NIXON.

         62.     Your affiant and TFO Davis followed NIXON southbound on Carolina

Beach Road. NIXON di·ove to 725 Bragg Drive, Wilmington and parked the black

colored Mercedes Benz. Your affiant and TFO Davis then observed NIXON entering

the door of 725 Bragg Drive Apartment G.

        63.      According to location data obtained via Federal search warrant (7:20-

mj-1267-RJ), the TARGET CELL PHONE was in the vicinity of 725 Bragg Drive at

the time we observed NIXON.

        64.      Based on my training and experience and familiarity with this

investigation, I believe it is likely the Bragg Drive apartment is a stash location used

by NIXON. Throughout this investigation, vehicles d1·iven by NIXON have been

ob erved in the vicinity of 725 Bragg Drive and location data for the TARGET CELL

PHONE received pursuant to Federal search warrants has consistently shown the




 ANDREWS was released from Federal prison in March 20 I 8 and his criminal history includes convictions for
drng related offenses.
                                                      20


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TARGET CELL PHONE to stop in the vicinity of 725 Bragg Drive for short periods

of time prior to visiting other areas of Wilmington.

      65.    On or about November 10, 2020, Cooperating Defendant 2 (hereinafter,

"CD-2") told the FBI that CD-2 spoke with someone from Wilmington in about

October 2020 who had recently been arrested. CD-2 told the FBI that individual said

THOMAS and NIXON controlled the supply of drugs in Wilmington and that NIXON

had good quality heroin.

      66.    On or about November 12, 2020, at about 7:00 a.m., the device bearing

cellular telephone number 919-508-7035 (used by SHERMAN) departed Wilmington

and travelled to Jacksonville, Florida, where it arrived at about 1:50 p.m., according

to information from a NC State PRTI on 919-508-7035.

      67.    Your affiant reviewed a PRTT attached to 919-508-7035 (used by

SHERMAN) and observed an outgoing call to Jacksonville telephone number 904-

742-7548, placed at about 1:51 p.m. on November 12, 2020, which lasted about one

minute and 21 seconds.

      68.    Your affiant reviewed a PRTI attached to 919-508-7035 (used by

SHERMAN) and observed an outgoing call to Jacksonville telephone number 904-

742-7548, placed at about 2:27 p.m. on November 12, 2020, which lasted about one

minute and 47 seconds.

      69.    Your affiant reviewed a PRTI attached to 919-508-7035 (used by

SHERMAN) and observed an incoming call from Jacksonville telephone number 904-




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742-7548, received at about 2:33 p.m. on November 12, 2020, which lasted about two

minutes and 27 seconds.

        70.   Yom· affiant reviewed a PRTT attached to 919-508-7035 (used by

SHERMAN) and observed an incoming call from Jacksonville telephone number 904-

742-7548, received at about 2:50 p.m. on November 12, 2020, which lasted about nine

seconds.

       71.    On or about November 12, 2020, at about 6:41 p.m. , CHS-I placed a

consensually recorded telephone call to SHERMAN on 919-508-7035 which lasted

about one minute and nine seconds. During the call, SHERMAN told CHS-1 he would

have 50 clips (of he1·oin) ready for CHS-1 the next day.

       72.    Based on my training and experience, and my familiarity with this

investigation, I know SHERMAN meant he would have 50 clips (approximately 2,500

dosage units) of heroin for CHS-1.           Additionally, because CHS-I spoke with

SHERMAN on 919-508-7035 while the device bearing cellular telephone number 919-

508-7035 was located in Jacksonville, I know SHERMAN travelled to Jacksonville.

       73.    On or about November 12, 2020, at about 7:07 p.m. CHS-1 received a

text message from SHERMAN on 919-508-7035 which was captured by a consensual

electronic intercept monitored by the FBI. The text message read, "En thang good

bro. Got those for u. And it's a fire flame ."

       7 4.   Based on my training and experience, and my familiarity with this

investigation, I know SHERMAN meant he had d1·ugs ready for CHS-I to purchase

and the drugs were good quality (fire flame).


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      75.    The device bearing cellular telephone number 919-508-7035 (used by

SHERMAN) remained in Jacksonville, until about 7:30 p.m. on November 12, 2020,

when it departed for Wilmington, according to information from a NC State PRTT on

919-508-7035.

      76.    Your affiant reviewed a PRTT attached to 332-999-5745 (used by

NIXON) and observed an outgoing call to Jacksonville telephone number 904-451-

5789, placed at about 7:44 p.m. on November 12, 2020, which lasted about four

seconds.

      77.   Your affiant reviewed a PRTT attached to 332-999-5745 (used by

NIXON) and observed an outgoing call to Jacksonville telephone number 904-451-

5789, placed at about 7:44 p.m. on November 12, 2020, which lasted about 13 seconds.

      78.   Your affiant reviewed a PRTT attached to 332-999-5745 (used by

NIXON) and observed an outgoing call to Jacksonville telephone number 904-451-

5789, placed at about 7:45 p.m. on November 12, 2020, which lasted about 55 seconds.

      79.   Your affiant reviewed a PRTT attached to 332-999-5745 (used by

NIXON) and observed an outgoing call to Jacksonville telephone number 904-451-

5789, placed at about 8:53 p.m. on November 12, 2020, which lasted about 55 seconds.

      80.   Your affiant reviewed a PRTT attached to 919-508-7035 (used by

SHERMAN) and observed an outgoing call to 910-599-7241 (used by THOMAS)

placed at about 12:37 a.m. on November 13, 2020, which lasted about 19 seconds.




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      81.    Your affiant reviewed a PRTT attached to 919-608-7035 (used by

SHERMAN) and observed an incoming call from 910-599-7241 (used by THOMAS),

received at about 1:15 a.m. on November 13, 2020, which lasted about 6 seconds.

      82.    Your affiant reviewed a PRTT attached to 332-999-5745 (used by

NIXON) and observed an outgoing call to Jacksonville telephone number 904-451-

5789, placed at about 1:55 a.m. on November 13, 2020, which lasted about 35 seconds.

      83.    Your affiant reviewed a PRTT attached to 332-999-5745 (used by

NIXON) and observed an outgoing call to Jacksonville telephone number 904-451-

5789, placed at about 2:12 a.m. on November 13, 2020, which lasted about one minute

and 33 seconds.

      84.   The device bearing cellular telephone numbe1· 919-508-7035 (used by

SHERMAN) returned to Wilmington and arrived in the vicinity of 1913 Carolina

Beach Road at about 2:15 a.m. , according to information from a NC State PRTT on

919-508-7035.

      85.   Your affiant reviewed a PRTT attached to 919-508-7035 (used by

SHERMAN) and ob erved an outgoing call to the TARGET CELL PHONE, placed

at about 2:19 a.m. on November 12, 2020, which lasted about two minutes and 55

seconds.

      86.   Your affiant reviewed a PRTT attached to 332-999-5745 (used by

NIXON) and observed an outgoing call to Jacksonville telephone number 904-451-

5789, placed at about 3:40 a.m. on November 13, 2020, which lasted about 21 minutes

and 17 seconds.


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      87.   Based on my training and experience and my familiai·ity with this

investigation, the purpose of SHERMAN's trip to Jacksonville was likely to acqufre

drugs from a supplier. Based on the telephone calls placed to THO:MAS during

SHERMAN's trip, as well as SHERMAN's return to the vicinity of 1913 Carolina

Beach Road at about 2:15 a.m. on November 13, 2020, I believe THOMAS was likely

involved in the trip. Additionally, because NIXON's cellular telephone began having

telephonic contact with the user of a Jacksonville telephone number on or about

November 12, 2020, I believe NIXON was also involved with SHERMANs trip.

Further, I believe SHERMAN's telephone call to the TARGET CELL PHONE

minutes after SHERMAN returned to the vicinity of 1913 Cai·olina Beach Road also

indicates SHERMAN's trip was likely on behalf of NIXON and THOMAS.

      88.   On or about November 19, 2020, Cooperating Defendant 1 (hereinafter,

"CD-3") told the FBI that THOMAS and NIXON are large scale drug traffickers in

the Wilmington area. CD-3 said THOMAS receives approximately 15-20 kilograms of

cocaine from a Mexican supplier about every two weeks. CD-3 also said NIXON went

to Atlanta in about September 2020 to get kilograms of cocaine from a supplier and

that ANDREWS is a cocaine dealer.

      89.   A prior search wai-rant (7:20-MJ-1232-RJ) for location information for

the TARGET CELL PHONE confh-med that the TARGET CELL PHONE traveled

to Atlanta from September 15, 2020 to September 16, 2020.

      90.   Information received pursuant to the execution of a Federal seai·ch

warrant (7:20-mj-1297-RJ) on the TARGET CELL PHONE showed the TARGET


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CELL PHONE was located in the vicinity of 1913 Carolina Beach Road, Wilmington

at about 11:46 a.m. on November 25, 2020.

       91.   Yow· affiant reviewed video footage captuTed on November 25, 2020 in

the vicinity of 1913 Cai·olina Beach Road and observed NIXON arrive in a white panel

van which parked near the rear entrance to 1913 Carolina Beach Road at about 11:46

a.m. NIXON and an unidentified male moved objects around near the van and rear

entrance to 1913 Carolina Beach Road . NIXON spoke with ANDREWS in the parking

lot and then departed in the van.

      92.    Information received plll'suant to the execution of a Federal search

warrant (7:20-mj-1297-RJ) on the TARGET CELL PHONE showed the TARGET

CELL PHONE was located in the vicinity of 1811 Queen Street, Wilmington, NC

from about 9:09 a.m. to 9:54 a.m. on December 2, 2020.

      93 .   On December 2, 2020, CHS-1 told the FBI about an after hoUl's spot

operating near Queen Street and Colwell Avenue in Wilmington which was called

Queens Corner. CHS-1 said this location serves liquor without a license.

      94.    On December 10, 2020, your affiant and FBI SA William Anderson

identified a building located at 1811 Queen Street in Wilmington located on the

corner of Queen Street and South 19 th Street. The building was clad in purple colored

siding and had a blue colored tarp over the roof. The building also had the letters

"Q.C" painted on the side with a crown painted along the top of the letter "Q". The

building had bars on the windows, metal security doors, and signs indicating there

was an "ATM" inside.


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       95.   Information received pursuant to the execution of a Federal search

warrant (7:20-mj-1297-RJ) on the TARGET CELL PHONE showed the TARGET

CELL PHONE was located in the vicinity of 1811 Queen Street in Wilmington, NC

from about 9:36 a.m. to about 9:48 a.m. on December 10, 2020.

       96.   Your affiant reviewed a PRTI' attached to the TARGET CELL PHONE

and observed an outgoing call to 919-508-7035 (used by SHERMAN), placed at about

9:48 a.m. on December 10, 2020, which lasted about 48 seconds.

      97.    Information received pursuant to the execution of a Federal search

warrant (7:20-mj-1297-RJ) on the TARGET CELL PHONE showed the TARGET

CELL PHONE was located in the vicinity of SHERMAN's apartment at the Cape

Cottages Condominiums from about 10:15 a.m. to 10:25 a.m. on December 10, 2020.

      98.    Information received pursuant to the execution of a Federal search

warrant (7:20-mj-1297-RJ) on the TARGET CELL PHONE showed the TARGET

CELL PHONE was located in the vicinity of 725 Bragg Drive from about 10:41 a.m.

to 10:45 a .m. on December 10, 2020.

      99.    Information received puxsuant to the execution of a Federal search

warrant (7:20-mj-1297-RJ) on the TARGET CELL PHONE showed the TARGET

CELL PHONE was located in the vicinity of SHERMANs apartment at the Cape

Cottages Condominiums from about 10:56 a.m. to at least 10:57 a.m. on December

10, 2020.

      100.   Based on my training and experience, and familiarity with this

investigation, I believe it is likely that NIXON met SHERMAN on the morning of


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December 10, 2020 to conduct a d1·ug transaction because the TARGET CELL phone

left the vicinity of SHERMAN's apartment, travelled to the vicinity of Bragg Drive

(believed to be a stash location used by NIXON), and then returned to the vicinity of

SHERMAN's apartment.

       101.   Based upon your affiant's knowledge of NIXON's history as a drug

trafficker and NIXON's use of the TARGET CELL PHONE to contact SHERMAN

to arrange drug transactions, I am informed and believe that NIXON is using the

TARGET CELL PHONE to facilitate dl·ug transactions. Information obtained

pursuant to the execution of the previous sea1·ch warrant for geo-location data on the

TARGET CELL PHONE has helped investigators confirm that SHERMAN and

NIXON had telephonic contact and were located in the same physical area at times

CHS-1 reported NIXON would be supplying SHERMAN with drugs. Information

obtained pursuant to the execution of the previous sea1·ch warrant for geo-location

data on the TARGET CELL PHONE has also helped investigators locate NIXON

and observe NIXON meeting with other known drug traffickers. Additionally,

information obtained pursuant to the execution of the previous search warrant for

geo-location data on the TARGET CELL PHONE helped investigators identify a

trip made to Atlanta, Georgia where the TARGET CELL PHONE remained for less

than 24 hours, and the FBI later received information from CD-2 which supported

your affiant's belief that the purpose of this trip was to acquire a quantity of drugs.

Information obtained pursuant to the execution of the previous search warrant for

geo-location data on the TARGET CELL PHONE also helped the FBI identify


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NIXON's presence on multiple days at variou times at an illegal liquor house in

Wilmington.

       102.   Based upon these facts, it is probable that information related to the

TARGET CELL PHONE pertains to illegal nru·cotics activity and fu1·ther

monitoring will continue to help investigators identify NIXON's drug supplier, stash

locations, and co-conspirators.

     TECHNICAL ASSISTANCE OF GEO-LOCATION

       103.   In my training and experience, I have leru·ned that Ve1·izon Wireless is

a company that provides cellular telephone access to the general public. I also know

that providers of cellular telephone service have technical capabilities that allow

them to collect and generate at least two kinds of information about the locations of

the cellular telephones to which they provide service: (1) E-911 Phase II data, also

known as GPS data or latitude-longit ude data, and (2) cell-site data, also known as

"tower/face information" or cell tower/sector records. E-911 Phase II data provides

relatively precise location information about the cellular telephone itself, either via

GPS tracking technology built into the phone or by triangulating on the device's

signal u ing data from several of t he provider's cell towers. Cell-site data identifies

the "cell towers" (i.e., antenna towers covering specific geographic ru·eas) that

received radio signal from the cellulru· telephone and, in some cases, the "sector" (i.e.,

faces of the towers) to which the telephone connected. These towers are often a half-

mile or more apart, even in urban arnas. and can be 10 or more miles apart in rural

areas. Furthermore, the tower close t to a wireless device does not necessarily serve


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every call made to or from that device. Accordingly, cell-site data is typically less

precise than E-911 Pha e II data.

       104.   Based on my training and experience, I know that Verizon Wireless can

collect cell-site data about the ' TARGET CELL PHONE." . I also know that wireless

providers such as Verizon Wireless typically collect and retain cell-site data

pertaining to cellular phones to ,vhich they provide service in their normal course of

business in order to use this information for various business-related purposes.

     AUTHORIZATION REQUEST

      105. Based on the fo1·egoing, I request that the Court issue the proposed

search warrant, pul'Suant to Federal Rule of Criminal Procedw·e 41 and 18 U.S.C.

§ 2703(c), authorizing the government to obtain the information requested in

Attachment B from the TARGET CELL PHONE described in Attached A for a

period of 30 days. Authorization is sought for the telephone number for TARGET

CELL PHONE, and any other telephone number subsequently assigned to an

instrument bearing the same IMEI number used by TARGET CELL PHONE, and

to any other IMEI number to which the telephone number for TARGET CELL

PHONE is assigned, within the thil'ty-day period. The authorization is also intended

to apply to TARGET CELL PHONE regardle            of service provider.

      106.    I further request, pursuant to 18 U.S .C. § 3103a(b) and Federal Rule of

Criminal Procedu1·e 41(£)(3), that the Court authorize the officer executing the

warrant to delay notice until 30 days after the collection authorized by the wai·rant

has been completed . There is rea onable cause to believe that providing immediate


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notification of the warrant may have an adverse result, as defined in 18 U.S.C. § 2705.

Providing immediate notice to the subscriber or user of the TARGET CELL PHONE

would seriously jeopardize the ongoing investigation, as such a disclosw·e would give

that person an opportunity to destroy evidence, change patterns of behavior, notify

confederates, and flee from prosecution. See 18 U.S.C. § 3103a(b)(l). As further

specified in Attachment B, which i incorporated into the wanant, the proposed

search warrant does not authorize the seizw·e of any tangible property. See 18 U.S.C.

§ 3103a(b)(2). Moreover, to the extent that the warrant authorizes the seizure of any

wire or electronic communication (a defined in 18 U.S.C. § 2510) or any stored wire

or electronic information, there is reasonable necessity for the seizure for the reasons

set fo1·th above. See 18 U.S.C. § 3103a(b)(2).

       107.   I further request that the Court dfrect Verizon Wireless to disclose to

the government any information described in Attachment B that is within the

possession, custody, or control of Verizon Wfreless. I also request that the Court direct

Verizon Wireless to furnish the government all information, facilities, and technical

assistance necessary to accomplish the collection of the information described in

Attachment B unobtrusively and with a minimum of interference with Verizon

Wireless' services, and at such intervals and times directed by the government. The

government shall reasonably compensate Verizon Wireless for reasonable expenses

incurred in furnishing such facilities or assistance.




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      108.   I further request that the Court authorize execution of the warrant at

any time of day or night, owing to the potential need to locate the TARGET CELL

PHONE outside of daytime hours.




             [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




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      109.   I further request that the Court order that all papers in support of this

application, including the affidavit and search warrant, be sealed until further order

of the Court. These documents discuss an ongoing criminal investigation that is

neither public nor known to all of the targets of the investigation. Accordingly, there

is good cause to seal these documents because their premature disclosure may

seriously jeopardize that investigation, including by giving targets an opportunity to

destroy or tamper with evidence, change patterns of behavior, notify confederates,

and flee from prosecution. Working copies of the affidavit and search warrant may be

served on FBI Agents and other government and contract personnel acting under the

 upervision of such investigative or law enforcement officers, and Verizon Wireless

as necessary to effectuate the Court' order.




                                               ~ff~
                                                Special Agent
                                                Federal Bureau oflnvestigation
                         be~~                                                        .
     On this !!._ day of Oet:eber, 2020, James D. Byers, appeared before me via
reliable electronic mean , wa placed under oath, and attested to the contents of this
Affidavit.


    ~~R
    UNITED STATES MAGISTRATE JUDGE




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ATTACHMENT A


Property to Be Searched


      1.     The cellular telephone assigned call number (470) 462-9908 ("TARGET

CELL PHONE"), who e service provider is Verizon Wireless, a wireless

communications service provider that is headquartered at 180 Washington Valley

Road, Bedminster, NJ, 07921.


      2.     Records and information associated with the location of the TARGET

CELL PHONE that is within the possession, custody, or control of Verizon Wireless,

including information about the location of the cellular telephone if it is subsequently

assigned a different call number.




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ATTACHMENT B


Particular Things to be Seized


   I.      Information to be Disclosed by the Provider

        All information about the location of the TARGET described in Attachment A

for a period of 30 days dm·ing all times of day and night. Information about the

location of the TARGET CELL PHONES includes all available E-911 Phase II data,

GPS data, latitude-longitude data, and other precise location information, as well as

all data about which "cell towers" (i.e., antenna towers covering specific geographic

areas) and "sectors" (i.e., faces of the towers) received a radio signal from the cellular

telephone described .i n Attachment A.

        To the extent that the information described in the previous paragraph

(hereinafter, "Location Information") is within the possession, custody, or control

of Verizon Wireless, Verizon Wireless is required to disclose the Location

Information to the government. In addition, Verizon Wireless must furnish the

government all information, facilities, and technical assistance necessary to

accomplish the collection of the Location Information unobtrusively and with a

minimum of interference with Verizon Wirele s' services, and at such intervals and

times directed by the government.        The government shall compensate Verizon

Wireless for reasonable expenses incurred in furnishing such facilities or assistance.

        This warrant does not authorize the seizure of any tangible property. In

approving this warrant, the Court finds reasonable necessity for the seizure of the

Location Information. See 18 U.S.C. § 3103a(b)(2).

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II.      Information to Be Seized by the Government

         All information described above in Section I that constitutes evidence of

violations of 21 U.S.C. §§ 846 and 841 involving identified and/or unidentified

subjects.




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